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                         EXHIBIT C
                         Case 08-14631-GMB Doc 627-3 Filed 09/05/08 Entered 09/05/08 15:28:02                                              Desc
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                                                                        SHAPES
                                                             SUMMARY OF ATTORNEY TIME
                                                             MARCH 31, 2008 - AUGUST 8, 2008



                                                  YEAR OF                                                                                          TOTAL               FEES
         ATTORNEY             CODE   POSITION                 AS   CR&A COM     DIP   DIS   EXC   FEE   FIN    GEN M&H M&A P&DS PLDS                         RATE
                                                 ADMISSION                                                                                          TIME             INCURRED
ALAN D. HALPERIN               ADH    PARTNER      1991   10.2     16.4   0.0   0.8   0.0   0.6   0.0   43.7    34.9 105.6 41.0    200.6     0.0     453.8    $435    $197,403.00
CHRISTOPHER J. BATTAGLIA       CJB    PARTNER      1997   0.0      0.0    0.0   1.3   0.0   0.0   0.0   0.0     0.3   0.0   0.3     0.0      0.0       1.9    $385        $731.50
ROBERT D. RAICHT               RDR    PARTNER      1987   0.0      0.0    0.0   0.0   0.0   0.0   0.0   0.0     0.0   1.2   0.0     0.0      0.0       1.2    $410        $492.00
WALTER BENZIJA                 WB     PARTNER      1996   0.0      0.0    0.0   0.0   0.0   0.0   0.0   0.0     5.3   9.9   0.0     28.5     0.0      43.7    $370     $16,169.00
DEBRA J. COHEN                 DJC   ASSOCIATE     1992   0.0      0.0    7.7   0.0   0.0   0.0   0.0   0.0     43.8  0.0   0.0     0.0      0.0      51.5    $335     $17,252.50
JULIE D. DYAS                  JDD   ASSOCIATE     2003   0.0      0.0    0.0   0.0   0.0   0.0   0.0   0.0     0.0   3.6   42.7    6.6      0.0      52.9    $275     $14,547.50
ETHAN D. GANC                  EDG   ASSOCIATE     2001   0.0      1.5    0.0   0.5   0.0   0.0   0.0   11.8    0.2   0.7   0.7     2.6     64.2      82.2    $280     $23,016.00
DONNA H. LIEBERMAN             DHL   ASSOCIATE     1984   0.0      4.8    0.0   0.0   0.0   0.0   0.3   0.2    244.9 1.5    1.5     40.2     0.0     293.4    $350    $102,690.00
CARRIE E. MITCHELL             CEM   ASSOCIATE     2005   0.2      4.8    0.0   0.0   0.4   0.0   2.2   0.0     1.3   4.5   34.6    4.0      0.0      52.0    $225     $11,700.00
SYDIA N. COOPER                SNC   LAW CLERK     N/A    0.0      0.0    0.0   0.0   0.0   0.0   0.0   0.0     1.8   0.0   0.0     0.0      0.0       1.8     $80        $144.00
MONIQUE A. MINTO - GONZALEZ   MAMG   LAW CLERK     N/A    0.0      0.0    0.0   0.0   0.0   0.0   0.0   0.0     3.1   0.0   0.0     0.0      0.0       3.1    $100        $310.00
MARY M. CHARLES - KENNEDY      MCK   LAW CLERK     N/A    0.0      0.0    0.0   0.0   0.0   0.0   0.0   0.0     13.6  0.0   0.0     0.0      0.0      13.6     $75      $1,020.00
JEFFREY B. MOORE               JBM   LAW CLERK     N/A    0.0      0.0    0.0   0.0   0.0   0.0   4.3   0.0     11.3  0.0   0.0     0.0      0.0      15.6     $95      $1,482.00
                                                   TOTALS 10.4     27.5   7.7   2.6   0.4   0.6   6.8   55.7   360.5 127.0 120.8   282.5    64.2    1066.7            $386,957.50
